Case 4:08-cr-00119-Y     Document 909       Filed 02/04/09     Page 1 of 1   PageID 2524


               IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF TEXAS
                            FORT WORTH DIVISION

UNITED STATES OF AMERICA                §
                                        §
VS.                                     §       CRIMINAL NO. 4:08-CR-119-Y
                                        §
ANTHONY TONY BUI (20)                   §
PETER TAM TRAN (23)                     §
HIEU TRUNG LE (25)                      §
LONG THANH TRAN (26)                    §

                                ORDER ACCEPTING
                       REPORT AND RECOMMENDATION OF THE
                        UNITED STATES MAGISTRATE JUDGE
                        AND ADJUDGING DEFENDANT GUILTY

        After reviewing all relevant matters of record, including the

respective Consents to Administration of Guilty Plea and Federal

Rule     of   Criminal    Procedure      11     Allocution       by   United    States

Magistrate Judge and the Report and Recommendation on Plea Before

the United States Magistrate Judge, and no objections thereto

having been filed by any defendant within ten (10) days of service

in accordance with 28 U.S.C. § 636(b)(1), the undersigned district

judge    concludes      that   each     report     and       recommendation    of   the

magistrate judge on each plea of guilty is correct, and each is

hereby accepted by the Court.           Accordingly, the Court accepts each

plea of guilty, and each and every defendant is hereby adjudged

guilty.       Each defendant’s sentence will be imposed in accordance

with the sentencing scheduling order previously issued as to each

defendant.

        SIGNED February 4, 2009.

                                                ____________________________
                                                TERRY R. MEANS
                                                UNITED STATES DISTRICT JUDGE
